                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No. 7:23-cv-897

IN RE:                                          )
                                                )
CAMP LEJEUNE WATER LITIGATION                   )            JOINT STATUS REPORT
                                                )
This Document Relates To:                       )
ALL CASES                                       )
                                                )

         The Plaintiffs’ Leadership Group (the “PLG”), together with the Defendant United States

of America (“Defendant” or the “United States”) (collectively, the “Parties”), jointly file this Joint

Status Report pursuant to the Court’s Notice of Hearing issued on March 25, 2024. The matters

required to be addressed in a Joint Status Report pursuant to Case Management Order No. 2

(“CMO-2”) (D.E. 23) are set forth below:

         (1) An update on the number and status of CLJA actions filed in the Eastern District
             of North Carolina

         From February 11, 2023 to March, 26 2024, 1,662 Camp Lejeune Justice Act (“CLJA”)

complaints have been filed in this district. Seventeen cases have been dismissed; thirteen of those

were voluntary dismissals and the four others were pro se cases. The cases are divided as follows:

Judge Dever – 410 cases; Judge Myers – 430 cases; Judge Boyle – 399 cases; and Judge Flanagan

– 423 cases.

         (2) An update on the number and status of administrative claims with the
             Department of Navy

         There are approximately 176,662 administrative claims on file with the Department of

Navy (“Navy”). The Navy opened the CLJA claims intake portal on March 1, 2024, and has been

communicating with the claimant population during ongoing portal enhancements and migration

of claims into the portal. The Navy has loaded approximately half of the existing CLJA claims

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inventory into the claims management system and is currently making those claims available to

law firms and pro se claimants to review and validate as Navy personnel complete initial data

quality checks on those claims. The remaining half of the existing inventory of CLJA claims

inventory will be loaded into the system over the coming weeks. The Navy continues to utilize

two pathways for assessing CLJA claims. Under one pathway, the Navy receives fully developed

claims from law firms for manual review. To date, the Navy has received approximately 411 fully

substantiated CLJA claims for review under this pathway. Under the other pathway, the Navy

accesses information developed through benefits determinations by the Veterans Administration

to substantiate and settle CLJA claims. Between the two pathways, the Navy has extended

approximately 56 CLJA claim settlement offers so far under the Elective Option program. To

date, 24 of the CLJA claim settlement offers extended by the Navy have been accepted.

       (3) An update on stipulations entered into between the Parties since the last status
           conference

       Following the Status Conference on March 19, 2024, the Parties engaged in a meet-and-

confer concerning several topics, including a potential stipulation controlling the government

production of certain medical records and Social Security Documents. The Parties were able to

reach an agreement on the material terms of the stipulation, and the Parties anticipate filing the

same in the near future.

       (4) A summary of the discovery conducted since the last status conference:

        The Parties have agreed to file separate summaries of the discovery conducted since the

last status conference. The Parties’ respective summaries appear below:

       The PLG’s Position:

       The PLG continues to dedicate significant time and resources to conducting discovery in

this matter, and the PLG is committed to taking all actions necessary to meet the deadlines set

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forth in the Court’s various scheduling orders. Since the most recent Status Conference on March

19, 2024, the status of discovery has not materially changed other than the daily work of defending

and scheduling depositions.

       On March 7, 2024, the PLG filed a Notice of Filing of the PLG’s Proposed Track 2

Scheduling Order (the “Notice”). [D.E. 155]. In that Notice, the PLG requested a Fed. R. Civ. P.

16 pretrial conference for purposes of discussing procedures that would significantly reduce the

scope and expense of discovery and trials and thereby speed up this litigation and promote a global

resolution. The PLG has delivered to the Court a list of proposed topics for the suggested Rule 16

pretrial conference.

       United States’ Position:

       The United States continues to provide rolling productions of documents in response to

Plaintiffs’ discovery requests, and is producing hundreds of thousands of pages of documents each

week. The United States is also continuing to produce any agency records the Department of

Justice possesses relating to individual Plaintiffs by Wednesday of the week prior to any individual

Plaintiff’s deposition, so long as the Plaintiffs have provided the United States with properly

executed releases. The United States and the PLG have agreed that all Parties will make all

reasonable efforts to produce any Plaintiff-specific records on the Wednesday prior to the

following week’s depositions. The Parties have also agreed that if Plaintiff-specific records are

not produced by that deadline despite reasonable efforts, a Plaintiff’s deposition should typically

be held open.

       As of March 26, 2024, the United States has requested dates for 100 depositions of Track

1 Discovery Plaintiffs, scheduled 98 of those depositions, and taken 68 of those depositions. The




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United States has also requested dates for 133 fact witness and treating physician depositions, has

scheduled 58 of those depositions, and taken 7 of those depositions.

       The United States believes substantive communications with the Court including proposals

regarding the procedure for this litigation, such as proposed procedures for trials, should be public.

Currently, there are over 1,600 lawsuits pending before this Court, including numerous filed by

pro se plaintiffs. All litigants, and the public at large, should have access to communications that

the Parties have with the Court regarding case management.

       (5) Update on individual and global settlement efforts:

       As of March 26, 2024, the Torts Branch has determined that fifty-one (51) cases in

litigation meet the Elective Option (“EO”) criteria through documentary verification. The case

breakdown by injury includes: 14 Bladder Cancer, 12 Kidney Cancer, 10 non-Hodgkin’s

Lymphoma, 5 Kidney Disease, 4 Parkinson’s Disease, 4 Leukemia and 2 Multiple Myeloma.

Twenty-one (21) offers have been accepted by plaintiffs on 5 cases of Bladder Cancer ($150,000;

$150,000; $300,000; $300,00; $450,000), 4 cases of Kidney Disease (End Stage Renal Disease)

($250,000; $250,000; $100,000; $100,000), 5 cases of Kidney Cancer ($300,000; $300,000;

$300,00; $300,000; $150,000), 3 cases of non-Hodgkin’s Lymphoma ($150,000; $150,000;

$300,000), 1 case of Multiple Myeloma ($250,000), 2 cases of Parkinson’s Disease ($400,000;

$100,000) and 1 case of Leukemia ($300,000). Nine (9) offers were rejected by plaintiffs,

including 4 cases of Bladder Cancer, 2 cases of Kidney Cancer, 1 case of Multiple Myeloma, 1

case of Kidney Disease, and 1 case of Parkinson’s Disease. Fifteen (15) offers have expired,

including 5 cases of Kidney Cancer, 4 cases of non-Hodgkin’s Lymphoma, 4 cases of Bladder

Cancer and 2 cases of Leukemia. The other six (6) settlement offers are pending.




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       Further, the DOJ has approved offers for fifty-nine (59) claimants in reliance on

information provided by the Navy. Twenty-four (24) settlement offers have been accepted. Two

(2) offers have been rejected. Twenty-five (25) offers have expired, and the other eight (8) offers

are pending.

       Payments have been sent for eight accepted settlements offers made by the Navy and

eighteen accepted settlement offers from DOJ, totaling $5,950,000. Six cases of Bladder Cancer

resulted in two payments of $300,000, three payments of $150,000 and one payment of $450,000.

Four cases of Leukemia resulted in three payments of $300,000 and one payment of $150,000.

Three cases of non-Hodgkin’s Lymphoma resulted in a $300,000 payment and two payments of

$150,000. Three cases of Parkinson’s Disease resulted in a $400,000, a $250,000 payment and a

$100,000 payment. Five cases of Kidney Cancer resulted in four $300,000 payments and a

$150,000 payment. Three cases of Kidney Disease resulted in two $100,000 payment and a

$250,000 payment. One case of Multiple Myeloma resulted in a payment of $250,000.

       (6) Any other issues that the parties wish to raise with the Court:

           Nothing at this time.

                                   [Signatures follow on next page]




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DATED this 26th day of March 2024.

Respectfully submitted,

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